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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


JANE DOE                                                             CIVIL ACTION

VERSUS                                                                   No. 20-2466

TONTI MANAGEMENT CO., L.L.C., ET AL.                                     SECTION I


                                       ORDER

         Before the Court is plaintiff Jane Doe’s (“Doe”) ex parte motion 1 to proceed

anonymously.         As discussed with Doe’s counsel during a September 11, 2020

telephone conference,

         IT IS ORDERED that the motion is GRANTED IN PART and DENIED IN

PART. Doe may, for the moment, proceed under a pseudonym.

         IT IS FURTHER ORDERED that Doe’s counsel shall file a motion under

seal seeking to file a sealed copy of the complaint containing Doe’s name by

MONDAY, SEPTEMBER 14, 2020 at 5:00 PM.

         New Orleans, Louisiana, September 11, 2020.



                                        _______________________________________
                                                LANCE M. AFRICK
                                        UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 3.
